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                                       IN THE UNITED STATES DTSTRTCT COURT
                                   FOR THE N()R.T~-IERN DISTRICT OF II,I.,IN()IS
                                              EASTERN DIVISION

  LOUIS MARTIN,                                                   )

                  Plaintiff,                                      )
                                                                        No. 1:18-cv-05906
        v.                                                        )
                                                                        Honorable Ronald A. Guzman
  CITY OF CHICAGO,a municipal corporation;                        )
  Officer MICHAEL G. JOLLIFF-BLAKE,Star No.                       )     Magistrate Judge David Weisman
  1 1971; Officer WILLIAM G. RICKEY, Star N~o. 12201;             )
  and Sergeant MARC D. VANEK,Star No. 1426,                       )

                 Defendants.                                      )

                                                  STIPULATION TO DISMISS

             IT IS HEREBY STIPUI.A'TED ANU AGREED by and between the parties hereto, by their
 respective attorneys ofrecord, that this matter has been settled by the parties and, therefore, this cause
 should be dismissed without prejudice, to be automatically converted to dismissal with prejudice 75 days
 from entry of the Court's order, unless a party has moved to extend this date prior to the expiration ofthe
 75 days. each side shall bear its own costs and attorneys' fees.
                                                                 Respectfully submitted,
        t varak                                    ~-"           CITY OF CHICAGO
 Attorney for Plaintiff, Lauis Martin                            a Municipal Corporation
 Dvorak Law Offices,LLC
 6262 Kingery Highway, Suite 305                                 EDWARD N. SISKEL
 Willowbrook, Illinois 60527                                     Corporation Counsel
(312)593-7146                                                    Attorney ~ r C'       "'c,~g~~~
 Attorney No.        c                                           B"~':                     ~
 FAIN:_ _ .           ~.~...~~_..._._._........                  Steffanie Garrett, Deputy Corporation Counsel
 DATE: _.~1..2~ t                                                30 North LaSalle Street, Suite 400
                                                                 Chicago, Illinois 60602
                                                                (312)74 -6 59, orney No.6206951
                                                                 DATE: _~~~~.
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 Mariam Fatima ~-Iai.                                            J don Yur h 1~, Assistant Corporation Counsel III
 Attorney for Plaintiff, Louis Martin                            A orney for efendants,lVlichael G. Jolliff-Blake,
 Dvorak Law Offices, LLC                                         William G. Rickey, and Marc D. Vanek
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(630)415-5135                                                   (312)744-1 b 5, Attorney No.6307379
 Attorney No. _ _to._32~-563._                                   DATE: _j~~L~
 FT;IN:.    ..._~.~_.~__~..___
 DATE:        e~ _ i ~„Za1~._
